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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 21 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 22 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 24 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 25 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 26 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 27 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 28 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 29 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 30 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 31 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 32 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 33 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 34 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 35 of 257
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                     Adversary Complaint Page 36 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 37 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 38 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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                     Adversary Complaint Page 40 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 41 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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                     Adversary Complaint Page 44 of 257
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                     Adversary Complaint Page 46 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 47 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 48 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 49 of 257
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                     Adversary Complaint Page 50 of 257
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                     Adversary Complaint Page 51 of 257
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                     Adversary Complaint Page 52 of 257
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                     Adversary Complaint Page 53 of 257
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                     Adversary Complaint Page 54 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 55 of 257
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                     Adversary Complaint Page 56 of 257
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                     Adversary Complaint Page 57 of 257
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                     Adversary Complaint Page 58 of 257
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                     Adversary Complaint Page 62 of 257
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                     Adversary Complaint Page 63 of 257
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                     Adversary Complaint Page 65 of 257
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                     Adversary Complaint Page 66 of 257
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                     Adversary Complaint Page 67 of 257
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                     Adversary Complaint Page 68 of 257
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                     Adversary Complaint Page 69 of 257
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                     Adversary Complaint Page 70 of 257
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                     Adversary Complaint Page 71 of 257
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                     Adversary Complaint Page 72 of 257
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                     Adversary Complaint Page 74 of 257
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                     Adversary Complaint Page 76 of 257
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                     Adversary Complaint Page 77 of 257
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                     Adversary Complaint Page 78 of 257
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                     Adversary Complaint Page 79 of 257
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                     Adversary Complaint Page 80 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 81 of 257
Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
                     Adversary Complaint Page 82 of 257
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                     Adversary Complaint Page 83 of 257
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                     Adversary Complaint Page 84 of 257
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                     Adversary Complaint Page 85 of 257
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                     Adversary Complaint Page 86 of 257
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                     Adversary Complaint Page 89 of 257
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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Case 17-05169-lrc   Doc 1-2 Filed 06/27/17 Entered 06/27/17 15:42:36   Desc
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